        Case 2:13-cr-00448-KJD-CWH             Document 100        Filed 01/30/15     Page 1 of 4




 1

 2

 3

 4

 5

 6                                  UNITED STATES DISTRICT COURT

 7                                          DISTRICT OF NEVADA

 8 UNITED STATES OF AMERICA,                           )
                                                       )
 9                          Plaintiff,                 )
                                                       )
10           v.                                        ) 2:13-CR-448-KJD-(CWH)
                                                       )
11 CARLOS JIMENEZ-MARTINEZ,                            )
                                                       )
12                          Defendant.                 )
13                                       FINAL ORDER OF FORFEITURE

14            On September 15, 2014, the United States District Court for the District of Nevada entered a

15 Preliminary Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United States

16 Code, Section 924(d)(1), (2)(C), and (3)(B) and Title 28, United States Code, Section 2461(c); Title

17 21, United States Code, Section 881(a)(11) and Title 28, United States Code, Section 2461(c); and

18 Title 21, United States Code, Section 853(a)(1) and (a)(2) based upon the plea of guilty by defendant

19 CARLOS JIMENEZ-MARTINEZ to the criminal offenses, forfeiting the property set forth in the Plea

20 Agreement, the Bill of Particulars, and the Forfeiture Allegations of the Criminal Indictment and

21 shown by the United States to have the requisite nexus to the offenses to which defendant CARLOS

22 JIMENEZ-MARTINEZ pled guilty. Criminal Indictment, ECF No. 10; Bill of Particulars, ECF No.

23 23; Change of Plea, ECF No. 63; Plea Agreement, ECF No. 68; Preliminary Order of Forfeiture, ECF

24 No. 73.

25            This Court finds the United States of America published the notice of forfeiture in accordance

26 with the law via the official government internet forfeiture site, www.forfeiture.gov, consecutively
        Case 2:13-cr-00448-KJD-CWH              Document 100       Filed 01/30/15      Page 2 of 4




 1 from September 18, 2014, through October 17, 2014, notifying all potential third parties; and notified

 2 known third parties by personal service or by regular mail and certified mail return receipt requested,

 3 of their right to petition the Court. Notice of Filing Proof of Publication, ECF No. 81.

 4           On October 24, 2014, the United States Attorney’s Office served Amad Rashad Yarber with

 5 copies of the Preliminary Order of Forfeiture and the Notice through regular and certified mail, return

 6 receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 93.

 7           On November 14, 2014, the United States Marshals Office personally served Amad Rashad

 8 Yarber with copies of the Preliminary Order of Forfeiture and the Notice. Notice of Filing Service of

 9 Process – Personal Service, ECF No. 94, p. 2-16.

10           On December 3, 2014, the United States Marshals Office personally served John Porter Giles

11 with copies of the Preliminary Order of Forfeiture and the Notice. Notice of Filing Service of Process

12 – Personal Service, ECF No. 94, p. 17-31.
13           On December 11, 2014, the United States Marshals Office personally served Louis C. Monti

14 with copies of the Preliminary Order of Forfeiture and the Notice. Notice of Filing Service of Process

15 – Personal Service, ECF No. 94, p. 32-46.

16           This Court finds no petition was filed herein by or on behalf of any person or entity and the

17 time for filing such petitions and claims has expired.

18           This Court finds no petitions are pending with regard to the assets named herein and the time

19 for presenting such petitions has expired.

20           THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that all right,

21 title, and interest in the property hereinafter described is condemned, forfeited, and vested in the

22 United States of America pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B); Fed. R. Crim. P.

23 32.2(c)(2); Title 18, United States Code, Section 924(d)(1), (2)(C), and (3)(B) and Title 28, United

24 States Code, Section 2461(c); Title 21, United States Code, Section 881(a)(11) and Title 28, United

25 States Code, Section 2461(c); and Title 21, United States Code, Section 853(a)(1), (a)(2), and (n)(7)

26 and shall be disposed of according to law:

                                                        2
        Case 2:13-cr-00448-KJD-CWH             Document 100        Filed 01/30/15      Page 3 of 4




 1           1. a Glock, Model 19 handgun, bearing serial number BDK808US;

 2           2. a .45 caliber, High Standard Crusader handgun, bearing serial number HS1147315;

 3           3. a 12 gauge, Armscor shotgun, bearing serial number AP214132;

 4           4. a RomArms, model 99.1, 7.62 caliber rifle, bearing serial number 10984599;

 5           5. any and all ammunition; and

 6           6. $4,979 in United States Currency.

 7          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any and all forfeited funds,

 8 including but not limited to, currency, currency equivalents, certificates of deposit, as well as any

 9 income derived as a result of the United States of America’s management of any property forfeited

10 herein, and the proceeds from the sale of any forfeited property shall be disposed of according to law.

11          The Clerk is hereby directed to send copies of this Order to all counsel of record and three

12 certified copies to the United States Attorney’s Office.
13          DATED this 28th
                       ___ day of January, 2015.

14

15

16
                                                  UNITED STATES DISTRICT JUDGE
17

18

19

20

21

22

23

24

25

26

                                                        3
        Case 2:13-cr-00448-KJD-CWH            Document 100       Filed 01/30/15     Page 4 of 4




 1                                          PROOF OF SERVICE
 2         I, Ray Southwick, Forfeiture Support Associates Paralegal, certify that the following
 3 individuals were served with copies of the Final Order of Forfeiture on January 23, 2015, by the below

 4 identified method of service:

 5         Electronic Filing
 6         Brenda Weksler
           Federal Public Defender
 7         411 E. Bonneville Ste. 250
           Las Vegas, NV 89101
 8         Nancy_Vasquez@fd.org
           Counsel for Carlos Leon Cabrales
 9
           James A. Oronoz
10         James A. Oronoz, Chtd.
           700 S. Third Street
11         Las Vegas, NV 89101
           jim@oronozlawyers.com
12         Counsel for Jose Luis Barragan
13         Karen C. Winckler
           Wright Stanish & Winckler
14         300 S, Fourth Street Ste. 701
           Las Vegas, NV 89101
15         Winckler@wswlawlv.com
           Counsel for Carlos Jimenez-Martinez
16
           Gabriel L. Grasso
17         Gabriel L. Grasso, P.C.
           9525 Hillwood Drive Ste. 190
18         Las Vegas, NV 89134
           gabriel@grassodefense.com
19         Counsel for Juan Carlos Silva
20

21

22

23

24

25

26

                                                      4
